       Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 1 of 39




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION
True the Vote, Jane Coln, Brandie Correro,      §
Chad Higdon, Jennifer Higdon, Gene              §
Hopkins, Frederick Lee Jenkins, Mary            §
Jenkins, Tavish Kelly, Donna Knezevich,         §
Joseph Knezevich, Doris Lee, Lauren Lynch,      §
Norma Mackey, Roy Nicholson, Mark               §
Patrick, Julie Patrick, Paul Patrick, David     §
Philley, Grant Sowell, Sybil Tribble, Laura     §
VanOverschelde, and Elaine Vechorik             §
       Plaintiffs,                              §
                                                §   Cause No. 3:14-cv-00532-HTW-LRA
v.                                              §
The Honorable Delbert Hosemann, in his          §
official capacity as Secretary of State for the §
State of Mississippi, The Republican Party of §
Mississippi, Copiah County, Mississippi         §
Election Commission, Hinds County,              §
Mississippi Election Commission, Jefferson      §
Davis County, Mississippi Election              §
Commission, Lauderdale County,                  §
Mississippi Election Commission, Leake          §
County, Mississippi Election Commission,        §
Madison County, Mississippi Election            §
Commission, Rankin County, Mississippi          §
Election Commission, Simpson County,            §
Mississippi Election Commission, and Yazoo §
County, Mississippi Election Commission         §
                                                §
       Defendants.                              §

                 SUMMARY JUDGMENT EXHIBITS – VOLUME 4

Exhibit          Description
8                July 8, 2014 Letter from Madison County Circuit Clerk
9                Declaration of Roberta Swank and Incident Reports
10               Declaration of Melinda Kinley and Incident Reports
11               Declaration of Ruth Wall and Incident Reports
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 2 of 39




                                                                   EXHIBIT 8
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 3 of 39
      Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 4 of 39




                        IN THE I-INITED STATES DISTRICT COURT
                      FOR THE SOUTIIERN DISTRICT OF MISSISSPPI
                                    JACKSON DTVISION

True the Vote, Jane Coln, Brandie Correro,    $
Chad Higdon, Jennifer Higdon, Gene            $
Hopkins, Frederick Lee Jenkins, Mary          $
Jenkins, Tavish Kelly, Donna Knezevich,       $
Joseph Knezevich, Doris Lee, Lauren Lynch,    $
Norma Mackey, Roy Nicholson, Mark             s
Patrick, Julie Patrick, Paul Pakick, David    s
Philley, Grant Sowell, Sybil Tribble, Laura   $
VanOverschelde, and Elaine Vechorik           $
                                              $
      Plaintiffs,                                   Cause No. 3 : 14-cv-00532-HTW-LRA
                                              $
v.
                                              $
The Honorable Delbert Hosemann, in his        $
official capacity as Secretary of State for   $
the State of Mississippi, The Republican      $
Party of Mississippi, Copiah County,          $
Mississippi Election Commission, Hinds        $
County, Mississippi Election Commission,      $
Jefferson Davis County, Mississippi           $
Election Commission, Lauderdale County,       $
Mississippi Election Commission, Leake        $
County, Mississippi Election Commission,      $
Madison County, Mississippi Election          $
Commission, Rankin County, Mississippi        $
Election Commission, Simpson County,          $
Mississippi Election Commission, and Yazoo    $
County, Mississippi Election Commission       $
                                              $
      Defendants.


                                       DECLARATION

                                                  By: Roberta Swank

 1. I, Roberta Swank, veriti under penalty of perjury under the laws of the
United States of America that the following is true and correct. See 28 U-S.C. $
 1746.

 2.   In the days following the hme 24 Republican Primary Run-Off Election, I
was part of a group of True the Vote volunteers who requested access to voting
records from Yazoo County. The purpose of my request was to determine whether



                                                                                  EXHIBIT 9
     Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 5 of 39




or not votsrs who had voted in the Democratic Primary unlawfully double voted in
the Republican Primary Run-Off Election and whether arLy other irregularities had
occurred during the Election.

3.    I made a request at the Yazoo County Circuit Clerk's office on July 7,2014
for voter records. Robert Coleman is the Circuit Clerk for Yazoo County.

4.    I was unable to inspect the records without paying for the redaction of those
records.

5.     Attached to this declaration is a true and correct copy of the incident report
I completed regarding my request for records from Yazoo County. The report is
filled out in my own handwriting and I recognize the writing as a true and correct
copy of the reports I completed based on its appearance, contents and substance.

6.    The attached incident report was prepared by me to describe the events that
occurred during my visit to Yazoo County. I made the report immediately after the
events described therein and when those events were fresh in my memory. Upon
completing the report, I gave it to True the Vote to maintain in its records.

7.     Further, declarant sayeth not.
                               - ,/;

       Signed on this   the ?-" day of August, 2014.

                                              Roberta Swank
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 6 of 39




                                                               EXHIBIT 9-A
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 7 of 39
       Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 8 of 39



                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 JACKSON DIVISION

True the Vote, Jane CoIn, Brandie Correro,      §
Chad Higdon, Jennifer Higdon, Gene              §
Hopkins, Frederick Lee Jenkins, Mary            §
Jenkins, Tavish Kelly, Donna Knezevich,         §
Joseph Knezevich, Doris Lee, Lauren Lynch,      §
NonnaMackey, Roy Nicholson, Mark                §
Patrick, Julie Patrick, Paul Patrick, David     §
Philley, Grant Sowell, Sybil Tribble, Laura     §
VanOverschelde, and Elaine Vechorik             §
       Plaintiffs,                              §
v.                                              §     Cause No.3: 14-cv-00532-HTW-LRA
                                                §
The Honorable Delbert Hosemann, in his          §
official capacity as Secretary of State for the §
State of Mississippi, The Republican Party of §
Mississippi, Copiah County, Mississippi         §
Election Commission, Hinds County,              §
Mississippi Election Commission, Jefferson      §
Davis County, Mississippi Election              §
Commission, Lauderdale County,                  §
Mississippi Election Commission, Leake          §
County, Mississippi Election Commission,        §
Madison County, Mississippi Election            §
Commission, Rankin County, Mississippi          §
Election Commission, Simpson County,            §
Mississippi Election Commission, and Yazoo §
County, Mississippi Election Commission         §
      Defendants.                              §


                                     DECLARATION

                                                    By: Melinda Kinley

1.    I, Melinda Kinley, verifY under penalty of perjury under the laws of the
United States of America that the following is true and correct. See 28 U.S.C. §
1746.

2.    In the days following the June 24 Republican Primary Run-Off Election, I
was part of a group of True the Vote volunteers who requested access to voting
records from Hinds County. The purpose of my request was to determine whether


                                                                            EXHIBIT 10
      Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 9 of 39



or not voters who had voted in the Democratic Primary unlawfully double voted in
the Republican Primary Run-Off Election and whether any other irregularities had
occurred during the Election.

3.    I made a request at the Hinds County circuit clerk's office on July 7, 2014
and July 8, 2014 for voter pollbooks and absentee ballot applications and
envelopes. Election Commissioner Cochran and Ms. Ruth Wall were present when
I made the request.

4.    In writing, I requested access to inspect absentee ballot applications and
envelopes, absentee request forms and voter pollbooks from Barbara Dunn, the
Hinds County Circuit Clerk. I was unable to inspect and copy the records I
requested.

5.     Attached to this declaration is true and correct copy of a written request for
records made to Hinds County signed by me. The request is filled out in Jan
Loar's handwriting while Melinda Kinley, Ruth Wall and Sharon Quinn tried to
dictate the correct wording for this Open Records request. It is signed by me and I
turned the request into the records office. I recognize the document as a true and
correct copy of the request I signed based on its appearance, contents and
substance. I recognize my signature on this document.

6.     Also attached to this declaration are true and correct copies of the incident
reports I completed regarding my requests for records from Hinds County. The
reports are filled out in my own handwriting and I recognize the writings as true
and correct copies of the reports I completed based on their appearance, contents
and substance.

7.     The attached incident reports were prepared by me to describe the events
that occurred during my visits to Hinds County. I made the reports immediately
after the events described therein and when those events were fresh in my memory.
Upon completing the reports, I gave them to True the Vote to maintain in its
records

8.    Further, declarant sayeth not.

Signed on this the ~!!:l day of August, 2014.
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 10 of 39




                                                               EXHIBIT 10-A
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 11 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 12 of 39




                                                              EXHIBIT 10-B
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 13 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 14 of 39




                                                               EXHIBIT 10-C
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 15 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 16 of 39




                                                               EXHIBIT 10-D
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 17 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 18 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 19 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 20 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 21 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 22 of 39




                                                               EXHIBIT 10-E
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 23 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 24 of 39




                                                               EXHIBIT 10-F
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 25 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 26 of 39




                                                               EXHIBIT 10-G
       Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 27 of 39



                        IN THE TINITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  JACKSON DIVISION

True the Vote, Jane Coln, Brandie Correro,        $
Chad Higdon, Jennifer Higdon, Gene
                                                  $
Hopkins, Frederick Lee Jenkins, Mary              $
Jenkins, Tavish Kelly, Donna Knezevich,           $
Joseph Knezevich, Doris Lee, Lauren Lynch,        $
Norma Mackey, Roy Nicholson, Mark                 $
Patrick, Julie Patrick, Paul Patrick, David       $
Philley, Grant Sowell, Sybil Tribble, Laura       $
VanOverschelde, and Elaine Vechorik               S

      Plaintiffs,                                 $
V.                                                $     Cause No. 3 : I 4-ov-00532-HTW-LRA
                                                  s
The Honorable Delbert Hosemann, in his            $
official capacity as Secretary of State for the   $
State of Mississippi, The Republican party of     s
Mississippi, Copiah County, Mississippi           $
Election Commission, Hinds County,                $
Mississippi Election Commission, Jefferson        $
Davis County, Mississippi Election                $
Commission, Lauderdale County,                    $
Mississippi Election Commission, Leake            $
County, Mississippi Election Commission,          s
Madison County, Mississippi Election              $
Commission, Rankin County, Mississippi            $
Election Commission, Simpson County,              $
Mississippi Election Commission, and Yazoo        $
County, Mississippi Election Commission           $
                                                  $
      Defendants.


                                      DECLARATION

                                                      By: Ruth Wall

1.     I, Ruth Wall, veri$/ underpenalty of perjury under the laws of the United
States of Americathalthe following is true and correct. See 28 U.S.C.
                                                                                S 1746.
2.    In the days following the June 24 Republican Primary Run-Off Election, I
was part of a group of True the Vote volunteers who requested access to voting
records from Hinds county on July 7 andJuly 8, 2014. The purpose of my..qr.J
was to determine whether or not voters who had voted in the Democratic Primarv



                                                                                       EXHIBIT 11
      Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 28 of 39



unlawfully double voted in the Republican Primary Run-Off Election and whether
any other irregularities had occurred during the Election.

3.    As a member of the True The Vote team consisting of Ruth Wall, Melinda
Kinley, Sharon Quinn and Jan Loar, we composed a written Open Records Request
made in handwriting by Jan Loar and signed by Melinda Kinley with all four
members of our team in agreement. This request was presented to Zach in the
Hinds County circuit clerk's office on July 7, 2014, for voter pollbooks and
absentee ballot applications and envelopes. After Zach processed this request, it
was handed back to us. We then gave the request to Bill Billingsly who then gave
our request to Election Commissioner Connie Cochran, who said she was
responsible for providing the data listed in our request.

4. I (we) requested access to inspect absentee ballot applications and
envelopes, absentee request forms and voter pollbooks from Barbara Dunn, the
Hinds County Circuit Clerk. I (we) were not given access to inspect such records
on July 7 or July 8 or any day thereafter.

5.    Attached to this declaration are true and correct copies of the incident
reports I completed regarding my requests for records from Hinds County. The
reports are filled out in my own handwriting and I recogni ze the writings as true
and correct copies of the reports I completed based on their appearance, contents
and substance.

6.     The attached incident reports were prepared by me to describe the events
that occurred during my visits to Hinds County on July 7 andJuly 8, 2014. I made
the reports on July 7 and July 8 immediately after the events described therein and
when those events were fresh in my memory. Upon completing the reports, I gave
them to True the Vote to maintain in its records.

7.    Further, declarant sayeth not.

      Signed on this tn"   Sfu day of August, ZOl4.
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 29 of 39




                                                              EXHIBIT 11-A
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 30 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 31 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 32 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 33 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 34 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 35 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 36 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 37 of 39




                                                               EXHIBIT 11-B
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 38 of 39
Case 3:14-cv-00532-NFA Document 83-4 Filed 08/06/14 Page 39 of 39
